The Honorable Rebecca McDowell Cook Missouri Secretary of State State Capitol Building Jefferson City, MO  65101
Dear Secretary Cook:
You have submitted to us a summary statement prepared pursuant to Section 116.334, RSMo Supp. The summary statement which you have submitted is as follows:
    Shall Article XIII of the Missouri Constitution be amended to permit specified firefighters and ambulance personnel, and dispatchers of fire departments, fire districts, ambulance districts and ambulance departments and fire and emergency medical services dispatchers of dispatch agencies, to organize and bargain collectively in good faith with their employers through representatives of their own choosing and to enter into enforceable collective bargaining contracts with their employers concerning wages, hours, binding arbitration and all other terms and conditions of employment, except that nothing in this amendment shall grant to the aforementioned employees the right to strike?
See our Opinion Letter No. 162-99, issued October 15, 1999, approving the form of the related petition.
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Since our review of the statement is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                  JEREMIAH W. (JAY) NIXON Attorney General